                                                                                                                Case 8:21-cv-01286-JLS-DFM Document 82 Filed 06/24/22 Page 1 of 6 Page ID #:990




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                                                                                                                                            UNITED STATES DISTRICT COURT
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Jacobson, Russell, Saltz, Nassim & de la Torre, LLP




                                                                                                                                          CENTRAL DISTRICT OF CALIFORNIA
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                                                                                                                12   DEBBY DAY; et al,                             Case No.: 8:21-cv-1286-JLS (DFMx)
                                                                                                                13
                                                                                                                                      Plaintiffs,                 PLAINTIFFS’ REPLY IN SUPPORT
                                                                                                                14
                                                                                                                            v.                                    OF OBJECTION AND MOTION TO
                                                                                                                15                                                STRIKE      PORTIONS      TO
                                                                                                                16   CALIFORNIA                 LUTHERAN          DEFENDANTS’     REPLY     IN
                                                                                                                     UNIVERSITY; et al,                           SUPPORT    OF   MOTION    TO
                                                                                                                17                                                DISMISS
                                                                                                                18                       Defendants.
                                                                                                                19
                                                                                                                20                                                Date: July 8, 2022
                                                                                                                21                                                Time: 10:30 a.m.
                                                                                                                                                                  Courtroom: 8A
                                                                                                                22
                                                                                                                23                                                The Hon. Josephine L. Staton
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                                                                                                                     Case No.: 8:21-cv-1286-JLS (DFMx)
                                                                                                                     File No.: 5.440.001                         1
                                                                                                                        PLAINTIFFS’ REPLY IN SUPPORT OF OBJECTION AND MOTION TO STRIKE PORTIONS OF DEFENDANTS’
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                                                                                                                 Case 8:21-cv-01286-JLS-DFM Document 82 Filed 06/24/22 Page 2 of 6 Page ID #:991




                                                                                                                 1                      Reply In Support of Objection and Motion to Strike
                                                                                                                 2        I.      Introduction and Relevant Facts
                                                                                                                 3             In the Opposition to Plaintiffs’ Motion to Strike, Defense Counsel continues to
                                                                                                                 4 further justify the striking of scandalous material it knows to be false. Specifically,
                                                                                                                 5 Defense Counsel misrepresents facts to the Court, stating: “[t]all or short, fat or thin, the
                                                                                                                 6 face is unmistakably colored black.” See Opp. p. 6, Doc. 79. (Emphasis added.) As
                                                                                                                 7 detailed below, this statement is in stark contrast to statements made by Defendant Chris
                                                                                                                 8 Kimball (California Lutheran University’s then President), the allegations of the First
                                                                                                                 9 Amended Complaint, and the evidence before this Court.
                                                                                                                10             There is also simply no basis for Defense Counsel’s statement that “everyone in
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                                                                                                                11 the University community saw it [the video]” as blackface. See Opp. p. 6, Doc. 79. This
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                                                                                                                12 flies in the face of news reports memorializing that the social media postings had
                                                                                                                13 essentially not been viewed by the CLU Student body, and that until students saw a
                                                                                                                14 February 5, 2020 email, none of the student body on campus knew anything about an
                                                                                                                15 alleged incident involving blackface.1 See FAC, ¶ 80, Doc. 41. Additionally, Counsel’s
                                                                                                                16 statement directly contradicts the CLU Black Student Union’s official position stated in
                                                                                                                17 its published letter that, but for Defendant Kimball’s February 5, 2020 email, they
                                                                                                                18 “would have not known [of] the Blackface incident.”2 Further, Defendants are in
                                                                                                                19   1
                                                                                                                         “Maria Reyes, a senior at CLU who serves as a senator in the Associated Students of
                                                                                                                20 CLU Government and is vice president with the campus club Together We Dream, a
                                                                                                                21 support group for first-generation and undocumented students, said that until students
                                                                                                                   saw that Feb. 5 email, no one on campus knew anything about an incident involving
                                                                                                                22
                                                                                                                   blackface.” https://vcreporter.com/2020/02/clu-softball-team-accused-of-blackface-all-
                                                                                                                23 sides-say-admin-response-misses-the-mark/
                                                                                                                24   2
                                                                                                                       See Opp., p. 6, Doc. 79. For instance, Plaintiffs have alleged that the view count on
                                                                                                                25   Instagram of the subject social media posting was extremely low, and the BSU confirmed
                                                                                                                26   that they had previously not known about the alleged incident and had never viewed the
                                                                                                                     content. FAC, Doc. 41, ¶ 81, 99. This was also confirmed in a newspaper article by the
                                                                                                                27   Ventura County Star which is referenced in Plaintiffs’ FAC, Doc. 41, ¶ 169. The
                                                                                                                28   published letter can be found here:

                                                                                                                     Case No.: 8:21-cv-1286-JLS (DFMx)
                                                                                                                     File No.: 5.440.001                         1
                                                                                                                        PLAINTIFFS’ REPLY IN SUPPORT OF OBJECTION AND MOTION TO STRIKE PORTIONS OF DEFENDANTS’
                                                                                                                                                               REPLY BRIEF
                                                                                                                 Case 8:21-cv-01286-JLS-DFM Document 82 Filed 06/24/22 Page 3 of 6 Page ID #:992




                                                                                                                 1 possession of evidence that puts them on notice that their statement is a blatant
                                                                                                                 2 misrepresentation to the Court.
                                                                                                                 3         Defendants also falsely state that “[t]he issue is: how did Jane Doe present in the
                                                                                                                 4 video the team posted to social media…” Opp., p. 7, Doc. 79. Even if Defendants were
                                                                                                                 5 initially mistaken about the subject performance when they first saw it, they thereafter
                                                                                                                 6 received actual copies of the videos and pictures and interviewed everyone involved, all
                                                                                                                 7 of which confirmed no one from the Softball team had darkened their faces with black
                                                                                                                 8 makeup. To be certain, the University is not being sued because they mistakenly
                                                                                                                 9 assumed someone’s face was being darkened because of poor image quality. Rather, the
                                                                                                                10 University is being sued because they falsely claimed as fact that Softball Players were
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                                                                                                                11 in blackface after they were already in possession of physical evidence and witness
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                                                                                                                12 statements unanimously confirming the contrary. See e.g., FAC, ¶ 73-75, 126, Doc. 41.
                                                                                                                13         Additionally, Defense Counsel’s statements are beyond the scope of a motion to
                                                                                                                14 dismiss, a reply brief in support of a motion to dismiss, or an opposition to a motion to
                                                                                                                15 strike. This is simply an improper attempt to inject false facts under the protection of the
                                                                                                                16 litigation privilege to prejudice public opinion against Plaintiffs. Defendants’ Reply in
                                                                                                                17 support of the Motion to Dismiss at page one contains a screenshot of a still from a video
                                                                                                                18 that Defense Counsel intentionally manipulated to fit within a word processing
                                                                                                                19 document. As such, by Defense Counsel’s own words, the screenshot did not exist prior
                                                                                                                20 to Defendants’ Reply – but only exists now to scandalously and falsely denigrate
                                                                                                                21 Plaintiffs.
                                                                                                                22         Defendant Kimball’s description of the images he personally observed matches
                                                                                                                23 exactly what Plaintiffs put forward to this Court – there is no black on anyone’s face –
                                                                                                                24
                                                                                                                25
                                                                                                                26  https://www.instagram.com/p/B8RYXVRAZBc/?igshid=MDJmNzVkMjY
                                                                                                                27
                                                                                                                   The public at large did not actually see the image in question. It is Defense Counsel who
                                                                                                                   is now attempting to manipulate this image.
                                                                                                                28

                                                                                                                     Case No.: 8:21-cv-1286-JLS (DFMx)
                                                                                                                     File No.: 5.440.001                         2
                                                                                                                        PLAINTIFFS’ REPLY IN SUPPORT OF OBJECTION AND MOTION TO STRIKE PORTIONS OF DEFENDANTS’
                                                                                                                                                               REPLY BRIEF
                                                                                                                 Case 8:21-cv-01286-JLS-DFM Document 82 Filed 06/24/22 Page 4 of 6 Page ID #:993




                                                                                                                 1 it is male beard stubble3 and it is makeup to represent facial hair just as Defendant
                                                                                                                 2 Kimball said it was. See Doc. 70, p. 2.
                                                                                                                 3          Further, Defendants admit that they included for the first time a “central piece of
                                                                                                                 4 evidence” in their Reply in their reply brief. See Opp., p. 1, Doc. 79. On this ground
                                                                                                                 5 alone, all new matter must be stricken as a matter of law.
                                                                                                                 6          Despite being at all times in possession of said picture4 and said recorded
                                                                                                                 7 statement of their own client, Defense Counsel nonetheless proffers for the first time in
                                                                                                                 8 their Reply brief to the Motion to Dismiss an under-pixelated screengrab of a video
                                                                                                                 9 capture that was otherwise manipulated to fit into a word document in order to mislead
                                                                                                                10 this Court and the general public into believing that such is an accurate depiction of the
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                                                                                                                11 student in question. These new unsupported attorney statements contradict statements
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                                                                                                                12 of Defense Counsel’s own clients and evidence in their possession. Therefore, by
                                                                                                                13 definition, the inclusion of said photo in the Reply is scandalous and subject to being
                                                                                                                14 stricken.
                                                                                                                15          As such, Defendants’ still image and all references thereto, should be stricken
                                                                                                                16 from the record.
                                                                                                                17       II. Argument
                                                                                                                18          Federal Rule of Civil Procedure 12(f) provides that the court "may strike from a
                                                                                                                19 pleading any insufficient defense or any redundant, immaterial, impertinent, or
                                                                                                                20 scandalous matter." Fed. R. Civ. P. 12(f). (Emphasis added.) Though it is recognized as
                                                                                                                21 an extreme measure to strike scandalous matter, Rule 12(f) has been applied in the
                                                                                                                22 context of reply briefs, as stated in Plaintiffs’ moving papers.
                                                                                                                23          In support of its Opposition, Defendants rely upon Sidney-Vinstein v. A.H. Robin
                                                                                                                24
                                                                                                                     3
                                                                                                                25   See FAC, Doc. 41, ¶ 87 @ 9:14 Defendant Kimball is questioned by a parent as to what
                                                                                                                26
                                                                                                                   he saw in the videos and if anyone was in “Blackface.” Defendant Kimball responds that
                                                                                                                   he saw a number of photographs and a video and that this was girls wearing male
                                                                                                                27 beard stubble.”
                                                                                                                   4
                                                                                                                28   Kimball described the picture in the recorded statement from February 2020. See FAC,
                                                                                                                   ¶ 87, Doc. 41.
                                                                                                                     Case No.: 8:21-cv-1286-JLS (DFMx)
                                                                                                                     File No.: 5.440.001                         3
                                                                                                                        PLAINTIFFS’ REPLY IN SUPPORT OF OBJECTION AND MOTION TO STRIKE PORTIONS OF DEFENDANTS’
                                                                                                                                                               REPLY BRIEF
                                                                                                                 Case 8:21-cv-01286-JLS-DFM Document 82 Filed 06/24/22 Page 5 of 6 Page ID #:994




                                                                                                                 1 Co., 697 F. 2d 880 (9th Cir. 1983). However, Defendants ignore Sidney-Vinstein’s
                                                                                                                 2 progeny, which states that courts have inherent power to strike inappropriate materials
                                                                                                                 3 in order to maintain the due and orderly administration of justice. Jones v. Metro. Life
                                                                                                                 4 Ins. Co., 2010 U.S. Dist. LEXIS 113219 (N.D.Cal. 2010.)
                                                                                                                 5         The striking of offensive material is particularly appropriate when the offensive
                                                                                                                 6 material is not responsive to an argument but, rather, constitutes an inappropriate attempt
                                                                                                                 7 to abuse the Court's process to attack an individual personally. See, e.g., Magill v.
                                                                                                                 8 Appalachia Intermediate Unit 08, 646 F. Supp. 339, 343 (W.D. Pa. 1986) (striking
                                                                                                                 9 allegations that “reflect adversely on the moral character of an individual who is not a
                                                                                                                10 party to this suit” which were “unnecessary to a decision on the matters in question”);
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                                                                                                                11 see also Pigford v. Veneman, 215 F.R.D. 2, 4-5 (D.D.C. 2003) (striking unfounded
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                                                                                                                12 accusations that opposing counsel was racist).
                                                                                                                13         Courts commonly implement this rule to strike or ignore “evidence presented for
                                                                                                                14 the first time in reply” in support of a motion, “and do[] not consider it for purposes of
                                                                                                                15 ruling on the motion.” See, e.g., Wolters Kluwer Financial Servs. v. Scivantage, 2007
                                                                                                                16 WL 1098714, *1 (S.D.N.Y. Apr. 12, 2007).
                                                                                                                17         As stated above, in Opposition to Plaintiffs’ Motion to Strike, Defense Counsel
                                                                                                                18 has set forth unsupported statements of fact in direct contradiction to the evidence and
                                                                                                                19 allegations in this case. This is the definition of scandalous material. Such liberties in the
                                                                                                                20 misrepresentation of the facts should not be tolerated.
                                                                                                                21         Here, for the first time on Reply, Defendants have put forth an unauthenticated,
                                                                                                                22 altered photo in the body of their brief. Setting forth this photo on page 1 of the 25-page
                                                                                                                23 reply, the photo is an attempt to prejudice this Court and to otherwise inflame public
                                                                                                                24 outrage against the Plaintiffs. Plaintiffs have filed an accurate picture so that the Court
                                                                                                                25 can see an unadulterated image of the Plaintiff’s face that is supposed to be depicted in
                                                                                                                26 Defendants’ “screenshot” from an unknown preservation of a social media video, and so
                                                                                                                27 the Court can see that the subject in question is indisputably wearing just facial-hair
                                                                                                                28 makeup (“stubble”), sunglasses, and a visor.

                                                                                                                     Case No.: 8:21-cv-1286-JLS (DFMx)
                                                                                                                     File No.: 5.440.001                         4
                                                                                                                        PLAINTIFFS’ REPLY IN SUPPORT OF OBJECTION AND MOTION TO STRIKE PORTIONS OF DEFENDANTS’
                                                                                                                                                               REPLY BRIEF
                                                                                                                Case 8:21-cv-01286-JLS-DFM Document 82 Filed 06/24/22 Page 6 of 6 Page ID #:995




                                                                                                                1          Defendants’ inclusion of a picture that they know to misrepresent the actual facts
                                                                                                                2 of what had occurred is improper and scandalous by any measure. The scandalous nature
                                                                                                                3 of the inclusion of such a photograph is exacerbated by the fact that it was submitted for
                                                                                                                4 the first time in a Reply so as to limit Plaintiffs’ ability to address it. As such, Plaintiffs
                                                                                                                5 request that the Court address this issue now, and strike said scandalous matter from
                                                                                                                6 Defendants’ Reply.
                                                                                                                7       III. Conclusion
                                                                                                                8          For the foregoing reasons, it is respectfully requested that the Court strike the
                                                                                                                9 picture contained on page one of Defendants’ Reply and all references thereto.
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                                                                                                                11 Respectfully Submitted,
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                                                                                                                12
                                                                                                                13 Dated: June 24, 2022                     Jacobson, Russell, Saltz, Nassim & de la
                                                                                                                                                            Torre, LLP
                                                                                                                14
                                                                                                                15                                          /s/ Michael J. Saltz
                                                                                                                                                            Michael J. Saltz, Esq.
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                                                                                                                                                            Attorneys for Plaintiffs
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                                                                                                                     Case No.: 8:21-cv-1286-JLS (DFMx)
                                                                                                                     File No.: 5.440.001                         5
                                                                                                                        PLAINTIFFS’ REPLY IN SUPPORT OF OBJECTION AND MOTION TO STRIKE PORTIONS OF DEFENDANTS’
                                                                                                                                                               REPLY BRIEF
